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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                             PLANO DIVISION


 TRENISS JEWELL EVANS III             )
 DOMINIC PEZZOLA,                     )
 EDWARD JACOB LANG                    )
             Plaintiffs      )
                             )
 Vs.                         ) Case No. 4:22-cv-00682-SDJ
                             )
 THE SELECT JANUARY SIX      )
 COMMITTEE,                  )
 BENNIE THOMPSON, ADAM       )
 SCHIFT, ZOE LOFGREN, ELAINE )
 LURIA, PETE AGUILAR,        )
 STEPHANIE MURPHY, JAMIE     )
 RASKINS, ELIZABETH CHENEY, )
 ADAM KINZINGER              )
           Defendant(s)      )

                      NOTICE OF VOLUNTARY DISMISSAL

 COMES Now, counsels for the Plaintiffs to this cause, respectfully extends notice

 of voluntary dismissal this Honorable Court for reasons of mootness.




                                      Respectfully Submitted,

                                               /s/Mark Lieberman
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                              CERTIFICATE OF SERVICE


        I hereby certify that, on January 2, 2023, this motion was filed via the Court’s

 electronic filing system, which constitutes service upon all counsel of record.



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